862 F.2d 871Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Ernest Florentin CELESTIN, Defendant-Appellant.
    No. 88-7724.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Sept. 30, 1988.Decided:  Nov. 15, 1988.
    
      Ernest Florentin Celestin, appellant pro se.
      Max Oliver Cogburn, Jr.  (Office of the United States Attorney), for appellee.
      Before WILKINSON and WILKINS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Ernest Florentin Celestin appeals from the district court's order refusing relief under 28 U.S.C. Sec. 2255.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.*   United States v. Celestin, CR. No. 86-70-C;  C/A No. 88-48-P-C (W.D.N.C. July 29, 1988).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    
      
        *
         Because an evidentiary hearing is not required in this case, we deny Celestin's motion for a hearing to be held in Richmond, Virginia
      
    
    